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1                                                     DISTRICT JUDGE ROBERT BRYAN
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5                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
6                                    AT TACOMA
7    UNITED STATES OF AMERICA,                 )
                                               )
8                         Plaintiff,           )      NO. CR09-5452RJB
                                               )
9                  v.                          )
                                               )
10   FRANCISCO FARIAS-GUTIERREZ,               )      ORDER TO SEAL
                                               )
11                        Defendant.           )
12   __________________________________
13
            Based upon the motion of the defendant, Francisco Farias-Gutierrez, and the
14
     representations made therein, it is HEREBY ORDERED that,
15
            Defendant’s Sentencing Memorandum in this matter be FILED UNDER SEAL
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     because it contains sensitive information and is not permitted to made publicly available.
17
            IT IS SO ORDERED.
18
            DATED this 29th day of October, 2010
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21
                                               Robert J Bryan
22                                             United States District Judge
     Presented By:
23

24   s/Timothy R. Lohraff
     Attorney for Francisco Farias-Gutierrez
25

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